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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


    ROOFERS’ PENSION FUND, on              Civ. A. No.: 16-cv-2805-MCA-
    behalf of itself and all others        LDW
    similarly situated,
                                           CLASS ACTION
                     Plaintiff,

               v.

   PERRIGO COMPANY PLC and
   JOSEPH C. PAPA, and JUDY
   BROWN,

                     Defendants.




       PLAINTIFF’S REPLY MEMORANDUM OF LAW IN SUPPORT OF
                 MOTION FOR CLASS CERTIFICATION
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                                   INTRODUCTION
        Defendants’ limited opposition only confirms that this case is well-suited for

  class certification.1   They do not contest that this case arises from common

  misrepresentations and omissions, or that trial will focus on common proof. Nor do

  Defendants dispute numerosity, superiority, or adequacy of counsel.

        Defendants also apparently agree and do not challenge that Perrigo shares

  traded efficiently on the NYSE, allowing a presumption of reliance. Their narrow

  challenge related to shares purchased on the Tel Aviv Stock Exchange (“TASE”)

  does not address the controlling Supreme Court standard, which is satisfied. Record

  evidence easily proves that TASE trading, like NYSE trading, was “generally

  efficient.” Halliburton Co. v. Erica P. John Fund, Inc., 573 U.S. 258, 279, 134 S.

  Ct. 2398, 2414 (2014) (“Halliburton II”). Specifically, Plaintiff demonstrates that

  Perrigo trading on the TASE satisfies all five of the “Cammer factors” that evidence

  market efficiency and provide for a presumption of reliance. Critically, Plaintiff’s

  expert has conducted an event study for TASE trading as well as U.S. trading,



  1
    “Plaintiff” refers to Lead Plaintiff Perrigo Institutional Investor Group. “Brf. ___”
  is used to cite pages in Plaintiff’s opening brief (ECF No. 163-1). “Resp. ____” is
  used to cite pages in Defendants’ response brief (ECF No. 189). “Complaint” refers
  to the Amended Complaint for Violation of the Federal Securities Laws (ECF No.
  89). A name followed by “Tr.” and page:line citations refers the deposition
  transcript of that person, excerpts of which are provided herewith in the declaration
  of Joshua B. Silverman (“Silverman Decl.”). All capitalized terms are defined in
  Plaintiff’s opening brief, unless otherwise indicated.



        {00328753;1 }
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  proving a “cause and effect” relationship (Cammer factor five) in both markets.

  Defendants did not conduct their own event study and only offer tangential

  criticisms. In addition, trading on the TASE was in lockstep with U.S. trading, the

  efficiency of which is uncontested. The other four Cammer factors also strongly

  support a finding of efficiency for both the TASE and the NYSE.

          Defendants’ remaining arguments also fail. Their attempt to distinguish the

  §14(e) claims between tendering and nontendering shareholders has been repeatedly

  rejected, and their minor objections to damages models and loss causation arguments

  have no bearing on class certification. Moreover, Defendants show no infirmity in

  proposed representatives, who have effectively advanced the interests of absent

  Class members and bring identical claims. Finally, the Class Period properly starts

  when Defendants first issued misrepresentations to investors. Because Plaintiff has

  proved each element of Rule 23, class certification should be granted.

                                     ARGUMENT

     I.      INDIVIDUAL ISSUES REGARDING RELIANCE DO NOT
             DEFEAT PREDOMINANCE

          Like most securities fraud litigations, trial here will focus on common

  evidence of falsity and scienter. For example, Plaintiff expects to present common

  evidence that




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                                                        Plaintiff will present similarly

  damaging common evidence regarding its Generic Rx claims.

        Like falsity and scienter, reliance will be established at trial through common

  proof. Perrigo shares traded efficiently on both the NYSE and TASE, allowing

  reliance to be presumed for all Classes under the fraud-on-the-market doctrine.2 Brf.

  at 15-23. No individualized proof of reliance will be needed. Defendants do not

  dispute that Perrigo traded efficiently in the United States, and do not contend that

  TASE trading of Perrigo shares was inefficient. Instead, Defendants raise only

  limited criticisms which do not address the controlling standard for market

  efficiency and have no bearing on class certification. Because unrefuted record

  evidence demonstrates that TASE trading met the Supreme Court’s market

  efficiency standard, the TASE Purchaser Class is entitled to a presumption of

  reliance.3



  2
    Defendants do not contest that Israeli law adopts a U.S. §10(b) cause of action for
  dual-listed shares like Perrigo. See Declaration of Professor Amir N. Licht (ECF No.
  163-4) at ¶59. Therefore, §10(b) standards including the presumption of reliance are
  available to TASE purchasers. Id. at ¶¶52-89. Moreover, for the Israeli statutory
  law claims that the TASE Purchaser Class pleads in the alternative, reliance is not
  required. Id. at ¶¶96-106.
  3
   Plaintiff also demonstrated that reliance may be presumed under Affiliated Ute. See
  Brf. at 23-24. Though this Court ruled that Plaintiff’s generic drug pricing


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         A. The Supreme Court’s market efficiency standard was satisfied for the
            TASE, as it was for the NYSE.

         The fraud-on-the-market presumption is based on the “fairly modest premise

   that market professionals generally consider most publicly announced material

   statements about companies, thereby affecting stock market prices.” Halliburton II,

   134 S. Ct. at 2410. That investors in such markets rely on the integrity of the market

   price, and consequently all misrepresentations and omissions incorporated into that

   market price, reflects both “common sense and probability.” Basic Inc. v. Levinson,

   485 U.S. 224, 246-47, 108 S. Ct. 978, 991 (1988). Neither Defendants nor their

   expert address the Supreme Court’s ruling that only proof of a “generally efficient

   market” is required, and that debates “about the precise degree to which stock prices

   accurately reflect public information are thus largely beside the point.” Halliburton

   II, 134 S. Ct. at 2410, 14 (emphasis in original); see also In re DVI, Inc. Sec. Litig.,

   639 F.3d 623, 635 (3d Cir. 2011) (perfect efficiency is not required).4


   allegations concern “omi[ssions] of material facts,” Roofer's Pension Fund v. Papa,
   Civil Action No. 16-2805, 2018 WL 3601229, at *12 (D.N.J. July 27, 2018),
   Defendants protest that Affiliate Ute is inapplicable because “[t]his is not a pure
   omissions case[.]” Resp. at 16. That is not the applicable standard. The Affiliated
   Ute presumption of reliance applies where a case primarily—not, purely—concerns
   omissions. Affiliated Ute Citizens v. United States, 406 U.S. 128, 153-54, 92 S. Ct.
   1456, 1472 (1972).
   4
    At least six courts have discredited Defendants’ expert, Dr. Gompers, for using an
   “absolutist view of market efficiency” that “[t]he Supreme Court has rejected.” In
   re Petrobras Sec. Litig., 312 F.R.D. 354, 371 (S.D.N.Y. 2016); see also Lumen v.
   Anderson, 280 F.R.D. 451, 460 (W.D. Mo. 2012) (rejecting Dr. Gompers’ market
   efficiency opinion as “not legally relevant” and concerning a “different conception


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                 1. Perrigo trading on the TASE was efficient, satisfying the “cause
                    and effect test” of Cammer factor five.

           Dr. Nye conducted an event study, which proved that TASE prices and NYSE

   prices demonstrated identically-significant (at the 95% level) price reactions to

   Perrigo earnings releases, except for a single date when the TASE was closed for a

   market holiday:

    Date           Event                                  TASE             NYSE
                                                          statistically-   statistically-
                                                          significant      significant
                                                          reaction         reaction
    4/21/2015      Perrigo announces quarterly results
                                                             Market
                   for former fiscal Q3 2015 (prior to
                                                             closed
                                                                                  
                   calendar year realignment)
    8/5/2015       Perrigo announces Q2 2015 results                             
    10/22/2015     Perrigo announces Q3 2015 results                             
    2/18/2016      Perrigo announces Q4 and FY 2015
                   results
                                                                                 
    4/25/2016      Perrigo issues preliminary Q1 2016
                   results
                                                                                 
    8/10/2016      Perrigo issues Q2 2016 results                                
    11/10/2016     Perrigo issues Q3 2016 results                                


   of an efficient market than is used by the law”); In re Groupon, Sec. Litig., 2015 WL
   1043321, at *11 (N.D. Ill. Mar. 5, 2015) (rejecting Dr. Gompers’ efficiency standard
   as an “argument . . . squarely rejected by the Halliburton Court”); Carpenters
   Pension Tr. Fund of St. Louis v. Barclays PLC, 310 F.R.D. 69, 84 n.98 (S.D.N.Y.
   2015) (criticizing Dr. Gompers for his “misconceptions about what the law
   requires”); Hayes v. MagnaChip Semiconductor Corp., 2016 WL 7406418, at *7
   (N.D. Cal. Dec. 22, 2016) (rejecting Dr. Gompers’ reasoning as disregarding “the
   finding of ‘general efficiency’ articulated by the Supreme Court in Halliburton II”);
   In re Initial Pub. Offering Sec. Litig., 260 F.R.D. 81, 102 (S.D.N.Y. 2009) (rejecting
   Dr. Gompers’ market efficiency view as inconsistent with the Supreme Court
   standard). Dr. Gompers testified that he rejects the Supreme Court market efficiency
   standard as “irrelevant” to his work. Gompers Tr. at 111:1-18.



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    2/27/2017    Perrigo issues preliminary Q4 2016
                 and FY 2016 results
                                                                               
   Source: Nye Report, Exh. 12.

         These reactions demonstrate market efficiency on TASE as well as NYSE.

   See Nye Report at ¶48, Nye Rebuttal at ¶¶37-65, Exh. D to Silverman Decl. Dr.

   Gompers agreed that Dr. Nye chose proper event dates and calculated his study

   without error. Gompers Tr. at 100:15-19 and 17:2-15, Exh. E to Silverman Decl.

   Defendants offer no event study or comparable proof of their own to refute Plaintiff’s

   affirmative evidence of efficiency. As a result, Cammer factor five establishes

   market efficiency unless Defendants can show that the event study is so flawed that

   it must be disregarded entirely. In re JPMorgan Chase & Co. Sec. Litig., 2015 WL

   10433433, at *6-7 (S.D.N.Y. Sep. 29, 2015).

         Defendants cannot, and do not, show any flaws in Dr. Nye’s event study.

   Defendants’ minor criticism about directionality ignores that directionality is not

   required by the standard articulated in Halliburton II. See, e.g., In re Petrobras Sec.

   Litig., 862 F.3d 250, 277 (2d Cir. 2017); Wilson v. LSB Indus., 2018 WL 3913115,

   at *14 (S.D.N.Y. Aug. 13, 2018).         Regardless, as supplemental evidence of

   efficiency, Dr. Nye objectively and reliably proved that directionality on each of the

   event dates was exactly what one would expect in an efficient market. Nye Rebuttal

   at ¶¶37-49. Defendants’ other criticism, an erroneous claim that intraday reactions

   were different on the TASE when the NYSE was closed, also fails. Reactions were



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   identical when U.S. pre-market trading is considered. Id. at ¶¶50-65; see also infra

   at Section I.A.1.a. Moreover, Halliburton II rejects Defendants’ attempt to require

   perfect efficiency. See 134 S. Ct. 2398 at 2410 (presumption does not require proof

   of how “completely publicly available information is reflected in market price.”).

                      a. Near-perfect price parity between TASE and U.S.
                         markets further proves that both were efficient.

         A price parity analysis confirms that Perrigo trading on the TASE was in

   lockstep with trading in the U.S., for which Defendants do not contest efficiency.

   TASE and U.S. trading occur simultaneously for 26 hours per week: when TASE is

   open and U.S. pre-market trading is available (4:00 a.m. ET – 9:30 a.m. ET) and

   when both TASE and NYSE are open (9:30 a.m. ET – 10:30 a.m. ET), Monday

   through Thursday. As Dr. Nye has proved, during all such periods, Perrigo traded

   at near-perfect price parity, demonstrating that the efficiency of U.S. markets

   (which Defendants concede) was equally present on the TASE. Nye Rebuttal at ¶65;

   Nye Report at ¶¶57-58.

         Neither Defendants nor their expert examined the 5.5 hours of simultaneous

   trading before the NYSE opened on Monday through Thursday, and their

   examination of the overlapping hour in which both TASE and NYSE were open

   confirms price parity. Dr. Gompers admits that price discrepancies he observed

   averaged only 0.201% (and had a median of 0.14%). See Gompers Report ¶49 &

   Exh. 8 (ECF No. 189-47). Even these negligible discrepancies were likely due to



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   Dr. Gompers observing trades executed at slightly different times, or slight

   variations in foreign exchange rates. See Nye Rebuttal at ¶9; see also Gompers Tr.

   71:9-12 (conceding he was aware of no instance in which anyone exploited a cross-

   market price discrepancy). Consistent with these findings, a peer-reviewed article

   Dr. Gompers cites confirms that most dual-listed markets are “highly integrated from

   a pricing perspective at both the daily and the intraday frequency.” See Halling, et

   al., “Volume Dynamics and Multimarket Trading,” Journal of Financial and

   Quantitative Analysis 48, no. 2 (2013), 489–518 at 492 n.9, Exh. F to Silverman

   Decl.

                       b. Investors who traded on the TASE had access to the same
                          information as investors trading in the U.S.

           Unrefuted record evidence demonstrates that Israeli investment professionals,

   like U.S. investment professionals, “consider[ed] most publicly announced material

   statements about [Perrigo], thereby affecting stock market prices” – the essence of

   market efficiency. Halliburton II, 134 S. Ct. at 2410. All of Perrigo’s public filings

   were replicated on the TASE website. See, e.g., Nye Report at ¶ 26 n.41. Israeli

   business publications regularly reported on Perrigo, and there was “a lot of data”

   available about Perrigo in Israel. Rabbanyan Tr. 49:15-51:13, Exh. G to Silverman

   Decl.; Bar Tov Tr. 33:23-34:10, Exh. H to Silverman Decl. Both U.S. analyst

   reports, and additional reports by analysts at Israeli firms, could be accessed in Israel.

   See, e.g., Nye Report at ¶24; Nye Rebuttal at ¶23. It is also unrefuted that Israeli



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   institutions readily traded Perrigo shares on the TASE in reaction to company-

   specific news, just as on U.S. markets. See, e.g., Deposition Exh. 2 (chart of Perrigo

   trades for Plaintiff members on TASE and NYSE), Exh. I to Silverman Decl.

                2. The other Cammer factors also prove TASE market efficiency.

         Each of the remaining four Cammer factors also supports market efficiency.

         Cammer factor one (weekly volume): For Cammer factor one, “[w]here

   securities are traded in more than one market . . . the focus should be on the primary

   market for the security since the secondary market is likely to move in close parallel

   to the primary market.” 5 Bromberg & Lowenfels on Securities Fraud § 7:484 (2d

   ed.) (the treatise cited in Cammer), Exh. J to Silverman Decl. Properly measured,

   Cammer factor one unquestionably supports a “strong presumption” of market

   efficiency for all venues on which Perrigo shares trade, including TASE. Nye Report

   at ¶20; Nye Rebuttal at ¶¶19-22. Defendants cite no authority supporting their

   alternate proposed measurement, see Resp. at 12, which violates Bromberg and is

   econometrically unsound. See Nye Rebuttal at ¶¶21-22.

         Cammer factor two (analyst coverage): By Defendants’ count, analysts

   published 514 reports on Perrigo during the Class Period, over 34 times the number

   of analyst reports deemed sufficient in Cammer. See Gompers Report Exh. 3.

   Defendants provide no evidence calling into doubt the ability of investors trading in

   Israel to access all 514 reports. See also Nye Rebuttal ¶¶23-24.




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         Cammer factor three (market makers): At least 17 professional firms made

   markets in Perrigo stock on the TASE during the Class Period, more than three

   times the threshold in Cammer. See 711 F. Supp. at 1293; Nye Rebuttal at ¶¶28-29.

   Narrow bid-ask spreads on TASE also confirm efficiency. See id., at ¶¶30-35.

         Cammer factor four: Cammer instructs that Form S-3 eligibility indicates

   market efficiency because it shows that companies have a reasonable float and have

   publicly disclosed at least three years of financial results. Id., 711 F. Supp. at 1285.

   Perrigo indisputably satisfied these attributes, which apply just as much to Israel as

   to the U.S.: Defendants’ expert agrees that all of Perrigo’s shares were available for

   trading in either Israel or the United States, and its disclosures were available in

   Israel. Gompers Tr. at 47:9-17; see Nye Rebuttal at ¶36; Nye Report at ¶ 26 n.41.

         B. Reliance is also presumed for the Tender Offer Class.
         Reliance is presumed for the §14(e) claim asserted by the Tender Offer Class

   under the fraud-on-the-market presumption. Roofer’s Pension Fund v. Papa, Civil

   Action No. 16-2805, 2017 WL 1536222, at *5 (D.N.J. Apr. 27, 2017). Reliance is

   also presumed because “once [plaintiffs] have sufficiently alleged and subsequently

   established the objective materiality of . . . misrepresentations in the tender

   documents . . . individual reliance by each class member need not be established but

   [is] presumed.” Church v. Consol. Freightways, Inc., No. C-90-2290 DLJ, 1991 WL

   284083, at *8 (N.D. Cal. 1991); accord Herbst v. Int’l Tel. & Tel. Corp., 495 F.2d




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   1308, 1318 (2d Cir. 1974) (“individual reliance is not a part of plaintiff’s [§14(e)]

   case”).

            Defendants do not rebut this presumption. A defendant seeking to sever a

   presumption of reliance must demonstrate “by a preponderance of the evidence” that

   a plaintiff did not in fact rely on their misrepresentations. Waggoner v. Barclays

   PLC, 875 F.3d 79, 101 (2d Cir. 2017), cert. denied, 138 S. Ct. 1702, 200 L. Ed. 2d

   954 (2018). Defendants make no such showing, nor could they. As deposition

   testimony proved, Plaintiff members would have considered the truth if disclosed

   during the tender period. See, e.g., Drucker Tr. at 87:18-22, Exh. K to Silverman

   Decl.; Cohen-David Tr. at 65:4-66:8, Exh. L to Silverman Decl.; Rabbanyan Tr. at

   116:19-117:5; Beer Even Tr. at 116:12-25, Exh. M to Silverman Decl. Accordingly,

   there can be no question that Plaintiff relied on the alleged misrepresentations, just

   like other Tender Offer Class members.

      II.      THE §14(e) CLAIMS OF THE TENDER OFFER CLASS DO NOT
               INVOLVE INDIVIDUAL TENDER ISSUES

            A shareholder injured by tender offer fraud has standing under §14(e)

   “whether or not she has tendered her shares.” Plaine v. McCabe, 797 F.2d 713,

   718 (9th Cir. 1986) (emphasis in original) (quoting Smallwood v. Pearl Brewing Co.,

   489 F.2d 579, 596 (5th Cir.), cert. denied, 419 U.S. 873, 95 S. Ct. 134 (1974) (a

   plaintiff has standing if “injured by fraudulent activities of others perpetrated in




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   connection with a tender offer, whether or not he has tendered his shares.”)). Thus,

   §14(e) does not require individual inquiry into tender decisions.

         §14(e) treats tendering and non-tendering shareholders equally because it is

   “principally . . . a disclosure statute,” and non-disclosure of material facts prevents

   both tendering and non-tendering shareholders from “intelligently decid[ing] how to

   respond to [the] tender offer.” Schreiber v. Burlington N., Inc., 731 F.2d 163, 165–

   66 (3d Cir. 1984), aff’d, 472 U.S. 1 (1985). Here, both tendering and non-tendering

   shareholders suffered the same economic damages, because both lost the opportunity

   to receive the same consideration when Defendants’ fraud defeated the tender offer.

         As other courts have determined, economic differences between tendering and

   non-tendering shareholders are insignificant, and do not prevent class certification.

   In re PHLCORP Securities Tender Office Litigation, No. 88 Civ. 0306 (PNL), 1989

   WL 251578 (S.D.N.Y. 1989); see also Hurwitz v. R. B. Jones Corp., 76 F.R.D. 149,

   163 (W.D. Mo. 1977). The lone §14(e) class certification case Defendants cite,

   Spivak v. Petro-Lewis Corp., 120 F.R.D. 693 (D. Colo. 1987), stands solely for the

   unremarkable proposition that a proposed class representative is neither typical nor

   adequate where record evidence conclusively establishes that he knew the allegedly

   concealed information all along. Id. at 697-99.5 By contrast, here Defendants


   5
    Defendants’ citation of Hundahl v. United Ben. Life Ins. Co., 465 F. Supp. 1349,
   1353-54 (N.D. Tex. 1979), is equally misplaced. Hundahl involved the exact
   opposite factual scenario as this case. In Hundahl, the tender offeror was accused


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   concealed from both Plaintiff and the Class alike crucial information about Perrigo’s

   most important acquisition, Omega, and its most profitable division, Generic Rx.

   Brf. at 3-7.

      III.   NEITHER DAMAGES                NOR     LOSS     CAUSATION          DEFEAT
             PREDOMINANCE

          In securities cases, once liability is established, the computation of damages

   is “purely mechanical” based upon the transactions of each Class member. Fitch v.

   Radnor Indus., Ltd., Civ. A. No. 90-2084, 1990 WL 158547, at *5-6 (E.D. Pa. Oct.

   9, 1990). Third Circuit law “forecloses” Defendants’ contention that individual

   calculations of securities fraud damages defeats class certification. W. Palm Beach

   Police Pension Fund v. DFC Glob. Corp., Civ. A. No. 13-6731, 2016 WL 4138613,

   at *14-15 (E.D. Pa. Aug. 4, 2016) (discussing Neale v. Volvo Cars of N. Am., LLC,

   794 F.3d 353, 374-75 (3d Cir. 2015)); see also City of Sterling Heights Gen.

   Employees’ Ret. Sys. v. Prudential Fin., Inc., No. CIV.A. 12-5275, 2015 WL

   5097883, at *7 (D.N.J. Aug. 31, 2015). Such damages are appropriately proved on

   a classwide basis at trial by event studies. See, e.g., Li v. Aeterna Zentaris Inc., No.




   of making misrepresentations to inflate the value of its tender offer. There, the court
   merely held that investors who did not tender despite the tenderor’s
   misrepresentations could not possibly have been impacted by those
   misrepresentations. Id. Here, Defendants’ misrepresentations successfully thwarted
   Mylan’s tender altogether, depriving every shareholder of the ability to fairly
   evaluate the tender offer and the lucrative benefits of the tender consideration.



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   14-cv-7081 (PGS) (TJB), 2018 WL 1143174, at *2 (D.N.J. Feb. 28, 2018).

         Defendants’ disagreements about damages methodologies are not properly

   resolved at class certification. Prudential, 2015 WL 5097883, at *12-13. Plaintiff

   is “not required to produce a detailed damages model” at this stage. Li, 2018 WL

   1143174, at *2 (citations omitted). An event study, as Dr. Nye has provided, is

   sufficient. Id.; see also Prudential, 2015 WL 5097883, at *13. Courts “need not

   assess the validity of Plaintiff’s damages model at this stage,” so disputes regarding

   event study parameters or disaggregation of event dates cannot defeat class

   certification. Prudential, 2015 WL 5097883, at *13; see also Waggoner, 875 F.3d

   at 106; Wilson, 2018 WL 3913115, at *16-17.

         Defendants’ citation to Comcast v. Behrend, 133 S. Ct. 1426 (2013) is

   misplaced. See Resp. at 20. As the Third Circuit explained in Neale, Comcast “was

   specific to the antitrust claim at issue,” and the unique facts of that case. Neale, 794

   F.3d at 374.     Generally, courts continue to hold that “individual damages

   calculations do not preclude class certification under Rule 23(b)(3).” Id.at 375.

   Thus, denying class certification solely on the basis of individual damage

   calculations would be an abuse of discretion. Id.

         Defendants’ loss causation arguments are also not ripe for adjudication here.

   See Resp. at 15, 21, 24 n.12, 26 (speculating that Defendants’ fraud might not have

   caused the Mylan offer to fail or might not have caused certain losses). Those are




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   common questions that affect all Class members on the merits of their claims, and it

   is reversible error to require a plaintiff “to show loss causation as a condition of

   obtaining class certification.” Erica P. John Fund, Inc. v. Halliburton Co., 563 U.S.

   804, 813, 131 S. Ct. 2179, 2186 (2011) (“Halliburton I”).

         IV.   PLAINTIFF IS TYPICAL, ADEQUATE, AND HAS ADVANCED
               THE INTERESTS OF CLASS MEMBERS

           A. Plaintiff is highly engaged and knowledgeable.

           Plaintiff”s service to the Class has not just been adequate; it has been

   exemplary. Plaintiff members had dozens of communications with counsel and

   multiple in-person meetings to keep abreast of the litigation, received regular

   updates, and six representatives traveled halfway around the world to participate in

   depositions. See, e.g., Drucker Tr. at 14:19-16:13,18:3-13; Cohen-David Tr. at

   12:21-15:21, 49:8-19, 77:2-5; Maderer Tr. at 11:10-17, 42:9-43:25, 74:18-25, 83:23-

   85:12, Exh. N to Silverman Decl. They regularly review draft filings, and suggest

   revisions where appropriate. See, e.g., Drucker Tr. at 48:18-49:10, 61:10-19, 72:2-

   23; Cohen-David Tr. at 45:11-47:6, 74:6-76:21; Maderer Tr. at 40:21-42:8; 43:16-

   25.     Each also duly responded to written discovery. Plaintiff’s high level of

   participation and understanding far exceed the “minimal degree of knowledge about

   the litigation” required by Rule 23. In re NFL Players Concussion Injury Litig., 821




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   F.3d 410, 430 (3d Cir. 2016) (quotation and citation omitted).

         B. Plaintiff’s claims are identical to those of other Class members.

         Plaintiff’s claims are not just typical of absent Class members; they are

   identical. All arise from the exact same facts and assert (within each Class) the exact

   same legal theories. See Brf. at 12-13. Defendants do not dispute this fundamental

   alignment, instead limiting their typicality challenge to an argument they wrongly

   label a “unique defense.” Specifically, they point to a handful of visits by Mylan

   executives unsuccessfully seeking to persuade Plaintiff members (all large Israeli

   institutional investors) to tender their Perrigo shares. Defendants’ argument fails to

   defeat typicality for three reasons: (1) it does not raise even a colorable defense; (2)

   it is not unique; and (3) it is not “likely to become a major focus of the litigation.”

   See In re Schering Plough Corp. ERISA Litig., 589 F.3d 585, 599 (3d Cir. 2009).

         Defendants cite no case law holding that a conversation with a tender offeror

   constitutes a “defense” to any securities claim, especially given Defendants’ failure

   to adduce any evidence that material non-public information was exchanged. Courts

   “decline to find that an investor will be precluded from serving as class

   representative merely because of his private communications with corporate insiders

   about publicly available information.” In re DVI Inc. Sec. Litig., 249 F.R.D. 196,

   202-03 (E.D. Pa. 2008). Regardless, no Plaintiff member was swayed by Mylan.

   None tendered shares. See Bar Tov Tr. at 63:6-15; 88:10-20; Rabbanyan Tr. 90:25-




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   91:15; Beer Even Tr. 54:14-55:7.

         Additionally, Mylan’s visit to Plaintiff members was not unusual. As Mylan

   publicly disclosed, it made similar visits to other Perrigo investors both inside and

   outside of Israel.6 Executives of publicly-traded companies frequently meet with

   investors, and Defendants’ attempt to portray this as disqualifying would severely

   hamper institutional investors from acting as lead plaintiff in securities fraud class

   actions, as Congress intended in the PSLRA. See Senate Report 104-98 (lead

   plaintiff provisions intended to increase the role of institutional investors).

         Nor is there any chance that this issue will “become a major focus” at trial.

   See Schering Plough, 589 F.3d at 599. Testimony on this issue took only a few

   minutes at deposition. Such “nuances” are “no more than minor factual differences”

   and do not impact certification. In re Merck & Co., Sec. Derivative & ERISA Litig.,

   MDL No. 1658 (SRC), 2013 WL 396117, at *6-7 (D.N.J. Jan. 30, 2013).

         C. Additional purchases by Plaintiff do not impact adequacy.

         Defendants’ attempt to rebut adequacy by pointing to post-disclosure

   purchases has been rejected by the overwhelming majority of courts to consider the




   6
    See, e.g., https://en.globes.co.il/en/article-coury-1001079801 (Mylan CEO came to
   Israel “to meet with institutions that hold shares in Perrigo Company”) and
   http://investor.mylan.com/news-releases/news-release-details/mylan-comments-
   misleading-statements-made-perrigo (Mylan executives spoke to “many Perrigo
   shareholders . . . about this combination over the past several weeks”).



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   issue, which almost uniformly hold that such purchases “have ‘no bearing on

   whether or not [investors] relied on the integrity of the market during the class

   period.’” Merck, 2013 WL 396117, at *7 (quoting City of Livonia Employees'

   Retirement Sys. v. Wyeth, 284 F.R.D. 173, 178 (S.D.N.Y. 2012)); see also DVI, 249

   F.R.D. at 203-04. Plaintiff members testified that they purchased to take advantage

   of lower prices for Perrigo shares following the disclosures. See, e.g., Beer Even Tr.

   at 113:23-124:19, Rabbanyan Tr. at 107:9-21. This is “a common investment

   strategy,” and does not impact class certification. In re DaimlerChrysler AG

   Securities Litig., 216 F.R.D. 291, 298 (D. Del. 2003); see also Wagner v. Barrick

   Gold Corp., 251 F.R.D. 112, 116-17 (S.D.N.Y. 2008).

         D. Plaintiff has no interests antagonistic to the Class.

         A purported conflict can affect adequacy only if it is actual and

   “fundamental.” Dewey v. Volkswagen Aktiengesellschaft, 681 F.3d 170, 184 (3d

   Cir. 2012). That Meitav is also part of a lead plaintiff group in a separate securities

   litigation against Mylan presents neither an actual nor a fundamental conflict. See

   Resp. at 37. The Mylan litigation involves entirely different facts, and none of the

   claims in the Mylan litigation are adverse to Class members here.

         That both Perrigo and Mylan were dishonest to investors in no way changes

   the indisputable conclusion that the tender offer was far better for Perrigo investors

   than the standalone value of its shares after artificial inflation was removed. See




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   Nye Report at ¶¶66-69; Nye Rebuttal at ¶66.7 Moreover, the Mylan litigation does

   not assert that investors knew of Mylan’s fraud while its tender offer for Perrigo was

   pending. For all of these reasons, Defendants cannot establish a “fundamental

   conflict.”8   See Dewey, 681 F.3d at 184.       Meitav’s willingness to serve in a

   representative capacity is a benefit to Class members in both cases.

          E. Plaintiff is independent.

          Record evidence thoroughly demonstrates that the Plaintiff group is

   independent, not “lawyer-driven.” As deposition testimony established, Plaintiff

   members largely decided to join forces on their own initiative. See Drucker Tr. at

   44:2-45:4; Maderer Tr. at 33:24-34:18. Plaintiff brought the lawyers together, rather

   than vice-versa. Drucker Tr. at 41:7-42:21. And, Plaintiff members had “at least a

   dozen” communications with each other outside the presence of litigation counsel.

   Drucker Tr. at 16:14-17:10; Cohen-David Tr. at 79:6-15, 95:20-96:14. Defendants’

   characterization is simply wrong.

          F. THE CLASS PERIODS ARE CORRECTLY DEFINED

          Defendants’ final argument incorrectly posits that tender offer claims “should




   7
    See also Cohen-David Tr. at 65:15-66:8 (explaining that while neither company
   was honest, investors would have been “better off with Mylan tender offer. . . .”).
   8
     Moreover, structural mechanisms protect the classes in both cases should such a
   conflict arise in the future. In each case, Meitav is only one member of a lead
   plaintiff group and thus cannot itself steer either litigation.



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   not commence until September 14, 2015.” Resp. at 38. However, consistent with

   §14(e), the Tender Offer Class is defined as those who held Perrigo shares as of the

   tender offer expiration, not those who purchased during any specific time period.

   See Brf. at 2; Complaint, ¶273(c). The U.S. and TASE Purchaser Classes begin on

   April 21, 2015, because that is when Plaintiff first alleges “an actionable

   misstatement or omission.” Wilson, 2018 2018 WL 3913115, at *20; see also

   Roofer's, 2018 WL 3601229, at *15 (citing Complaint, ¶133, misrepresentations

   beginning on April 21, 2015).

                                     CONCLUSION

         For the reasons above and in Plaintiff’s opening brief, Plaintiff respectfully

   requests that the Court issue an Order: (1) certifying this action pursuant to Rule 23

   as a class action and certifying the Classes defined in Plaintiff’s motion; (2)

   appointing Plaintiff as the Class Representative; (3) appointing Pomerantz and

   Bernstein Litowitz as Class Counsel, and Lowenstein Sandler as Liaison Counsel;

   and (4) granting such other and further relief as the Court may deem just and proper.


   Dated: June 5, 2019                        Respectfully submitted,

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